829 F.2d 34Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert BRUNSON, Plaintiff-Appellant,v.Rudy LOADHOLT; Hampton County Jail; Ernie J. Washington;Jasper County Jail; Randy Blackmon, Sheriff,Defendants-Appellees.
    No. 87-6059
    United States Court of Appeals, Fourth Circuit.
    Submitted July 10, 1987.Decided August 28, 1987.
    
      Robert Brunson, appellant pro se.
      Audrey Patrone Peartree, Howell, Gibson &amp; Boney, PA, for appellees.
      Before DONALD RUSSELL, WIDENER and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Brunson v. Loadholt, C/A No. 86-928 (D.S.C., Mar. 10, 1987).
    
    
      2
      AFFIRMED.
    
    